Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 1 of 38 - Page ID#: 1



                IN THE UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF KENTUCKY, CORBIN DIVISION




WILLIAM ANDERSON                        )
               Plaintiff,               )
                                        )
      v.                                )   Case No.
                                        )
KNOX COUNTY, Knox County                )
Sherriff’s Department Officers in       )
their Individual Capacity, JOHN         )   JURY TRIAL DEMANDED
PICKARD, DEREK EUBANKS,                 )
Kentucky State Police Officers in       )
their Individual Capacity JASON         )
YORK, BRIAN JOHNSON, MARK               )
MEFFORD, JACKIE JOSEPH, and             )
TYSON LAWSON.                           )
                                        )
                     Defendants.        )
                                        )
                                        )

      NOW COMES Plaintiff, WILLIAM ANDERSON, by his attorneys LOEVY &

LOEVY, and complaining of Defendants KNOX COUNTY, Knox County Sherriff

JOHN PICKARD and Knox County Sheriff’s Department Officer DEREK

EUBANKS, Kentucky State Police Officers JASON YORK, BRIAN JOHNSON,

MARK MEFFORD, JACKIE JOSEPH, TYSON LAWSON, and other unknown

officers from the Knox County Sheriff’s Department and Kentucky State Police, and

states as follows:
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 2 of 38 - Page ID#: 2



                                    Introduction

       1.     Plaintiff William Anderson lost nearly five years of his life awaiting

trial for a murder he did not commit. On May 25, 2016, Mr. Anderson was

exonerated when a jury of his peers acquitted him.

       2.     Over the course of his incarceration, Mr. Anderson lived in fear each

day that he would be wrongfully convicted and sentenced to death.

       3.     This manifest injustice was not the result of mere flaws in the judicial

system. Rather, the Defendants named herein conspired to take his liberty by

knowingly initiating false charges based on evidence that the Defendants

fabricated. Thankfully, because it was fabricated, the evidence was flimsy and the

Defendants did not succeed in obtaining Mr. Anderson’s wrongful conviction.

       4.     In their quest to frame Mr. Anderson, the Defendants cut a deal with

the real murderer, James Sizemore, and others associated with him.

       5.     For example, irrefutable evidence implicates Mr. Sizemore’s uncle, Jeff

Gray, as an accomplice in the murder. That evidence includes a video showing Mr.

Gray and Mr. Sizemore purchasing tools to bury the body. But the Defendants

protected Mr. Gray from charges because of his familial ties to Defendant York and

his financial arrangement with Defendant Pickard.

       6.     Although the system functioned in the sense that Mr. Anderson was

acquitted, the Defendants nevertheless succeeded in manipulating the system for

years. As a result, Mr. Anderson was deprived of his liberty as a pretrial detainee

just the same as if the Defendants had secured his wrongful conviction.



                                           2
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 3 of 38 - Page ID#: 3



          7.     Mr. Anderson now brings this lawsuit to enforce the Constitutional

right to liberty guaranteed to all citizens by the United States Constitution.

                                    Jurisdiction and Venue

          8.     This action is brought pursuant to 42 U.S.C. § 1983 to redress the

       deprivation under color of law of Plaintiff’s rights as secured by the U.S.

       Constitution.

          9.     This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331

       and 1367.

          10.    Venue is proper under 28 U.S.C. § 1391(b) and (c). On information and

       belief, all parties reside in this judicial district, and the events giving rise to the

       claims asserted herein all occurred within this district.

                                             Parties

          11.    Plaintiff William Anderson is a 37 year-old resident of Campbell

       County, Tennessee.

          12.    At all relevant times, Defendants John Pickard and Derek Eubanks

       were officers with the Knox County Sheriff’s Department. Each of these

       Defendant Officers is sued in their individual capacity and each acted under

       color of law and within the scope of their employment in engaging in the actions

       alleged in this complaint.

          13.    Defendants Pickard and Derek Eubanks are referred to collectively as

       the “Knox County Defendants.”




                                                3
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 4 of 38 - Page ID#: 4



          14.    Defendant Knox County is a local governmental entity organized

       under Kentucky law. Defendant Knox County is responsible for the policies,

       practices, and customs of the Knox County Sherriff’s Department.

          15.    At all relevant times, Defendants Jason York, Brian Johnson, Mark

       Mefford, Jackie Joseph, Tyson Lawson, were current Kentucky State Police

       (“KSP”) Officers. Each of these Defendant Officers is sued in their individual

       capacity and each acted under color of law and within the scope of their

       employment in engaging in the actions alleged in this complaint.

          16.    Defendants Jason York, Brian Johnson, Mark Mefford, Jackie Joseph,

       Tyson Lawson, are referred to collectively as the “KSP Defendants.”

          17.    The individual defendants are referred to collectively as the

       “Defendant Officers.”

                               The Murder of Bob Wiggins

          18.    Bob Wiggins was brutally murdered on November 23, 2011 in Bell

       County, Kentucky.

          19.    Just prior to his death, Kimberly York lured Mr. Wiggins to her home

       by telling him that she was desperately in need of pills.

          20.    Mr. Wiggins was unaware that Ms. York’s call was nothing more than

       a ruse. As such, Mr. Wiggins fell for the bait and went to Ms. York’s residence

       with the intention of selling her OxyContin 30’s.

          21.    Mr. Wiggins left Ms. York’s home in the company of James Otis

       Sizemore on the afternoon he went missing. Mr. Sizemore accomplished this



                                              4
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 5 of 38 - Page ID#: 5



       task by falsely informing Mr. Wiggins that someone wanted to purchase pills

       from him on Red Bird Mountain. Together, Mr. Sizemore and Mr. Wiggins drove

       a black Toyota Camry to the top of the mountain.

          22.    After exiting the vehicle, Mr. Sizemore struck Mr. Wiggins over the

       head multiple times. Mr. Sizemore hit Mr. Wiggins with such force that one of

       the strikes caused a divot in his skull.

          23.    Mr. Wiggins eventually fell to his knees after being struck repeatedly

       by Mr. Sizemore. It was then that Mr. Sizemore grabbed Mr. Wiggins’ wrists

       and dragged him to the side of the road.

          24.    After searching through Mr. Wiggins’ pockets, Mr. Sizemore found a

       knife and slashed his throat before stabbing him 18 times.

          25.    Mr. Sizemore eventually left Mr. Wiggins’ body and fled the crime

       scene. To do so, Mr. Sizemore stole Mr. Wiggin’s black Toyota Camry.

          26.    Upon fleeing the murder scene, Mr. Sizemore was dirty, bloody, and

       needed a place to clean up. He drove Mr. Wiggins’ black Toyota Camry to

       Jeremy Ferrell’s residence, where he arrived around 3:00 p.m.

          27.    Mr. Sizemore arrived at Mr. Ferrell’s residence alone. By the time Mr.

       Sizemore arrived at Mr. Ferrell’s residence, he was already intoxicated from

       pain pills that he had stolen from Mr. Wiggins.

          28.    While at Mr. Ferrell’s, Mr. Sizemore was able to clean himself off and

       get new clothing.




                                                  5
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 6 of 38 - Page ID#: 6



          29.   Later that evening, Mr. Sizemore set Mr. Wiggins’ car ablaze in

       Barbourville, Kentucky.

          30.   On November 25, 2011, Mr. Sizemore accompanied Jeff Gray to a

       Lowe’s Department Store in Corbin, Kentucky. There, the two men purchased a

       number of items to assist them in burying Mr. Wiggins’ body.

          31.   Shortly thereafter, Mr. Wiggins was buried on Red Bird Mountain.

                      Initial Investigation into Mr. Wiggins’ Death

          32.   A missing person’s report filed at noon on December 1, 2011 by Mr.

       Wiggins’ sister, Faye Scott, prompted the Defendants’ investigation. Defendant

       Derek Eubanks filled out the missing persons’ report.

          33.    Kimberly York accompanied Ms. Scott to fill out the missing persons’

       report. While there, Ms. York revealed to Defendant Eubanks that Mr. Wiggins

       was last seen at her residence around noon on November 23, 2011.

          34.   According to Ms. York, Mr. Wiggins left the residence with Mr.

       Sizemore and had not been seen since.

          35.   Because the missing persons’ report was filed at the Knox County

       Sheriff’s Department, Defendants Pickard and Eubanks led the initial

       investigation into Mr. Wiggins’ death. At the time, Defendant Pickard was the

       Knox County Sheriff.

          36.   The Defendants’ first action was to interview Ms. York a second time.

       In this interview, Ms. York informed the Defendants that the last time she saw

       Mr. Wiggins was at her home on November 23, 2011 around noon. Ms. York



                                             6
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 7 of 38 - Page ID#: 7



       further revealed that Mr. Wiggins left her home in the company of Mr. Sizemore

       and were driving in Mr. Wiggins’ black Toyota Camry.

          37.   Finally, Ms. York informed the Defendants that William Anderson and

       Dave Fox may have some information relating to the investigation.

                    Mr. Anderson Assists Defendants’ Investigation
                          Prior to Being Framed for Murder

          38.   On that same date, Defendants Eubanks and Pickard located Mr.

Anderson. At the time, Mr. Anderson lived with the Messer family and cared for

Elijah, their handicapped son.

          39.   Defendants Eubanks and Pickard interviewed Mr. Anderson at the

Messer residence regarding Mr. Wiggins’ death.

          40.   In that interview, Mr. Anderson implicated Mr. Sizemore in the

murder. In doing so, Plaintiff informed Defendants Eubanks and Pickard that he

and Dave Fox cared for Elijah Messer on November 23, 2011 prior to leaving for the

grocery store.

          41.   After arriving at the store around 5:30 p.m., Mr. Anderson

accompanied Mr. Fox inside to purchase a pack of cigarettes and a few sodas.

          42.   Mr. Anderson revealed that he and Mr. Fox ran into Mr. Sizemore and

Jeremy Ferrell at the store. Shortly thereafter, Mr. Sizemore told Mr. Anderson

and Mr. Fox to “[G]o ahead and get what you want, I’ll take care of what you ain’t

got the money for.” Mr. Sizemore then paid for the items.

          43.   Upon leaving the store, Mr. Sizemore asked Mr. Anderson to

accompany him and Mr. Ferrell to Ferrell’s residence. Mr. Anderson subsequently


                                            7
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 8 of 38 - Page ID#: 8



left with Mr. Sizemore and Mr. Ferrell, while Mr. Fox drove the van back to the

Messer residence.

        44.     Mr. Anderson informed Defendants Pickard and Eubanks that Mr.

Sizemore was driving a black Toyota Camry on the day in question. He revealed to

the Defendants that he questioned Mr. Sizemore about where he got his new car. In

response, Mr. Sizemore stated that his “lady…took over the payments from

somebody.”

        45.     The Defendants also learned from Mr. Anderson that after arriving at

Mr. Ferrell’s residence, Mr. Sizemore took papers out of the glovebox and burnt

them.

        46.     After a short period of time, Mr. Sizemore took Mr. Anderson back to

the Messer residence. The Defendants learned that Mr. Fox was at the Messer

residence at the time Mr. Sizemore and Mr. Anderson returned.

        47.     Upon exiting the vehicle, Mr. Sizemore informed Mr. Anderson that he

had a “nice coat” that he was going to give him. At that point, Mr. Anderson

informed the Defendants that Mr. Sizemore walked to the car and retrieved a black

coat and a black hat for him to have.

        48.     Mr. Anderson voluntarily provided Defendants Eubanks and Pickard

with the two clothing items – a coat and a hat - given to him by Mr. Sizemore.

              Third-Party Witnesses Confirm Mr. Anderson’s Innocence
                            to Knox County Defendants

        49.     After concluding their interview with Mr. Anderson, Defendants

Pickard and Eubanks proceeded to question Dave Fox, a local resident.


                                            8
	  
  Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 9 of 38 - Page ID#: 9



       50.    Mr. Fox confirmed to the Defendants that he was with Mr. Anderson

during the day on November 23, 2011.     In fact, on that afternoon, Mr. Anderson

accompanied Mr. Fox to a local store where they encountered Mr. Sizemore and Mr.

Ferrell. At the time, Mr. Sizemore was driving a black Toyota Camry.

       51.    Mr. Fox also informed the Defendants that Mr. Sizemore offered to pay

for food and drinks inside the store.

       52.    Finally, Mr. Fox informed the Defendants that Mr. Anderson left the

store with Mr. Ferrell and Mr. Sizemore but returned a short time later to Mr.

Messer’s residence, where Mr. Fox and Mr. Anderson were staying at the time.

       53.    About an hour later, Defendants Pickard and Eubanks interviewed

another local resident named Jeremy Ferrell. Mr. Ferrell, too, corroborated Mr.

Anderson’s story and verified his innocence.

       54.    In that interview, Mr. Ferrell confirmed to the Defendants that Mr.

Sizemore arrived at his home around 3:00 p.m. on November 23, 2011. At the time

he arrived, Mr. Sizemore was alone and driving a black Toyota Camry.

       55.    Mr. Ferrell further revealed that Mr. Sizemore was high on pills when

he arrived, was noticeably paranoid, and acting very strange.

       56.    The Defendants learned that Mr. Ferrell and Mr. Sizemore took the

black Camry to the local store.

       57.    There, they saw Mr. Anderson and Mr. Fox, who arrived in a different

vehicle. After purchasing some items, Mr. Sizemore and Mr. Ferrell left the store

accompanied by Mr. Anderson. Together, the three went to Mr. Ferrell’s home.



                                          9
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 10 of 38 - Page ID#: 10



       58.     Mr. Ferrell informed the Defendants that Mr. Sizemore began burning

papers and other objects from the black Toyota Camry after arriving back at home.

The Defendants learned that neither Mr. Anderson nor Mr. Ferrell participated in

the burning.

       59.     The Defendants also were informed that Mr. Sizemore agreed to take

Mr. Anderson back to the Messer residence after a short period of time.

                 The Defendants’ Interrogation of Mr. Sizemore
                         Produced a Dozen False Tales

       60.     Defendants Eubanks and Pickard decided to interrogate Mr. Sizemore

on December 2, 2011 after conducting interviews with Mr. Anderson, Mr. Fox, and

Mr. Ferrell.

       61.     By the time of the interrogation, the Defendants knew that Mr.

Sizemore was the sole person responsible for murdering Mr. Wiggins. In fact,

Defendant Eubanks revealed as much to Mr. Sizemore at the onset of the

interrogation, stating, “The thing is, all my evidence points at you…”

       62.     In that interrogation, Mr. Sizemore repeatedly lied to the Defendants

about his involvement in Mr. Wiggins’ murder.

       63.     In a matter of hours, Mr. Sizemore told a dozen different stories about

the events leading to Mr. Wiggins’ death.

       64.     The Defendants knew that Mr. Sizemore was lying about his role in

Mr. Wiggins’ death. Indeed, Defendant Eubanks confronted Mr. Sizemore early in

the interrogation, “Yeah, well, you’re not tellin it [the truth] now…cause we know –




                                           10
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 11 of 38 - Page ID#: 11



and – and we don’t only know it, we can prove it…we’ve got evidence that proves

different than what you’re saying.”

       65.   Defendants Pickard and Eubanks became increasingly frustrated with

Mr. Sizemore and his fanciful stories. However, the Defendants resorted to telling

Mr. Sizemore what to say instead of properly probing his knowledge about Mr.

Wiggins’ death.

       66.   In doing so, the Defendants fabricated Mr. Sizemore’s false statement

that implicated Mr. Anderson in the murder of Mr. Wiggins.

       67.   Defendants Eubanks and Pickard’s method of fabricating Mr.

Sizemore’s false statement began in a subtle fashion. For instance, Defendants

Pickard and Eubanks initially urged Mr. Sizemore to claim that “someone else did it

and you were just there.”

       68.   But Mr. Sizemore was unable to comprehend what the Defendants

were asking him to do, namely, frame Mr. Anderson for Mr. Wiggins’ murder.

       69.   Because of Mr. Sizemore’s confusion, the Defendants’ fabrication

requests became more pronounced and were coupled with promises of consideration.

       70.   For instance, Defendant Eubanks informed Mr. Sizemore, “If you can

take me and show me and give me evidence that points at somebody else, I’m gonna

turn left and go down that road.”

       71.   But Mr. Sizemore needed more direction. He needed to know exactly

what the Defendants wanted him to repeat.




                                        11
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 12 of 38 - Page ID#: 12



       72.    Thus, on multiple occasions, Mr. Sizemore begged the Defendants to

feed him their script, “I wish you would just tell me so I can at least tell you

something.”

       73.    The Defendants then fed Mr. Sizemore the false and fabricated story

that they wanted him to repeat. And like a puppet, Mr. Sizemore acquiesced to his

master’s commands.

       74.    The Defendants succeeded in getting Mr. Sizemore to falsely implicate

Mr. Anderson.

       75.    The Defendants offered praise and words of encouragement for Mr.

Sizemore after he agreed to go along with the false and fabricated story that

implicated Mr. Anderson in the murder. For example, in response to Mr. Sizemore’s

sudden willingness to falsely implicate Mr. Anderson, Defendant Pickard stated,

“That’ll help you…that’ll help.”

       76.    After successfully convincing Mr. Sizemore to falsely implicate Mr.

Anderson, the Defendants set about the task of fabricating the details of his false

statement. In doing so, Defendant Eubanks said “I’m having a hard time sleeping

though, knowing that I knew somebody killed somebody and now there’s somebody

in close proximity that heard it and everything.”

       77.    After telling Mr. Sizemore to repeat that he was in close proximity to

the murder, Defendant Eubanks then instructed him to say what the motive should

be, “Let me guess, it was all over stealing pills…all over stealing pills.”




                                           12
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 13 of 38 - Page ID#: 13



       78.   The Defendants also made significant promises to Mr. Sizemore in the

midst of providing him with the details necessary to frame Mr. Anderson for a

murder he did not commit.

       79.   For instance, the Defendants informed Mr. Sizemore that he could,

“make a deal…[and] get eight years at 15 percent.” According to their promise, Mr.

Sizemore would “only serve 14 months.”

       80.   Defendants Eubanks and Pickard rehearsed Mr. Sizemore’s false and

fabricated story during the remaining portion of this marathon interrogation.

       81.   The Defendants knew that Mr. Sizemore’s story was false.

       82.   At the time of the interrogation, Defendant Pickard knew Mr.

Sizemore for nearly a decade and believed him to be a liar.

       83.   In fact, Defendant Pickard confessed that at the time he interrogated

Mr. Sizemore, he “knew the truth wasn’t in him.”

       Defendant Pickard Requests Assistance from KSP Defendants

       84.   After obtaining a false statement from Mr. Sizemore, Defendant

Pickard contacted Defendant York and requested that officers from the Kentucky

State Police assist in the investigation.

       85.   In that call, Defendant Pickard also revealed that Mr. Sizemore

confessed that Mr. Wiggins’ body was located at the top of Red Bird Mountain.

       86.   At that point, the Defendant Officers transported Mr. Sizemore to Red

Bird Mountain.




                                            13
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 14 of 38 - Page ID#: 14



        87.   Around 12:48 p.m., while on Red Bird Mountain, Mr. Sizemore escaped

from custody. Mr. Sizemore was located a short time later at his family’s home

located near the bottom of the mountain.

        88.   A short time later, the Defendant Officers escorted Mr. Sizemore back

to the top of Red Bird Mountain.

        89.   Within minutes, Mr. Sizemore assisted the Defendant Officers in

locating Mr. Wiggins’ buried body. In doing so, Mr. Sizemore pointed to a pile of

dirt and limbs that was located in extremely mountainous terrain.

        90.   According to his report, Defendant York observed, “tool marks located

on the bank above the location of the body that showed dirt had been dug from the

bank to cover the body.” A later autopsy revealed that the body was covered with

lime.

        91.   After locating the body, Defendants Mefford, Johnson, and Joseph

arrived at the scene and assisted in the investigation.

        92.   The Defendant Officers subsequently brought Mr. Sizemore to the

Knox County Sheriff’s Department for further questioning.

                      The Defendants Rehearse and Fabricate
              Mr. Sizemore’s False Statement after Locating Mr. Wiggins

        93.   Shortly thereafter, Defendants York, Eubanks, and Johnson

participated in another interrogation of Mr. Sizemore that interrogation lasted

approximately three hours.




                                           14
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 15 of 38 - Page ID#: 15



       94.   In that marathon interrogation, through coercion and promises of

consideration, the Defendant Officers fabricated a false story for Mr. Sizemore to

repeat that implicated Mr. Anderson in the murder of Mr. Wiggins.

       95.   The Defendant Officers knew that the story was false, but continued

creating it because they were determined to falsely initiate charges against Mr.

Anderson for the murder of Mr. Wiggins.

       96.   The Defendant Officers memorialized this false and fabricated story in

a police report.

       97.   The Defendant Officers not only knew that the story was false at the

time they were fabricating it, but their later investigation conclusively proved that

it was untrue.

       98.   As a result of the Defendant Officers’ threats and promises of

consideration, Mr. Sizemore agreed to go along with the false and fabricated

statement created by the Defendant Officers that falsely implicated Mr. Anderson

in the murder.

       99.   Notably, Mr. Sizemore’s false and fabricated story omits information

about who was really involved in the murder of Mr. Wiggins. In fact, the Defendant

Officers omitted any information from Mr. Sizemore’s false and fabricated

statement that implicated Jeff Gray, an accomplice of Mr. Sizemore’s in the cover-

up of Mr. Wiggins’ murder.




                                          15
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 16 of 38 - Page ID#: 16



         The Defendants Protected Mr. Sizemore’s Accomplice in the Murder
             Due to His Close Ties to Defendants York and Pickard

         100.   Within the first few days of their investigation, Mr. Sizemore informed

the Defendant Officers that Mr. Gray assisted him in burying the body.

         101.   The Defendant Officers verified this information through irrefutable

documentary evidence.

         102.   On January 14, 2012, Defendant Johnson obtained a number of video

recordings and a receipt from the Lowe’s Home-Improvement store in Corbin,

Kentucky. Defendant Johnson took these actions due to the undocumented

information provided by Mr. Sizemore.

         103.   The video footage and receipt were formed during the evening hours of

November 25, 2011, approximately two days after Mr. Wiggins was murdered.

         104.   Upon reviewing this footage, Defendant Johnson learned that a “gray

colored pickup truck” entered the Lowe’s parking lot around 8:36 p.m. on November

25, 2011.

         105.   Defendant Johnson recognized the two subjects who exited the vehicle

and immediately identified them as Jeff Gray and James Sizemore.

         106.   According to Defendant Johnson’s report, he watched Mr. Gray and

Mr. Sizemore purchase “six bags of lime, a digging shovel, a flash light, and a bag of

salt.”

         107.   According to a receipt recovered by Defendant Johnston, Mr. Gray

used cash to pay for the items used to bury Mr. Wiggins.




                                            16
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 17 of 38 - Page ID#: 17



       108.   Below is a screenshot of a video that the Defendant Officers obtained

that shows Mr. Sizemore and Mr. Gray purchasing tools to bury Mr. Wiggins.




       109.   In spite of the significant evidence implicating Mr. Gray, at the very

least, as an accomplice in covering up Mr. Wiggins’ murder, the Defendant Officers

refused to initiate charges.

       110.   The Defendant Officers refused to initiate charges against Mr. Gray

because of his personal ties to Defendants York and Pickard.

       111.   At the time of the underlying investigation, Defendant York was

married to Kayla Gray, a close relative of Jeff Gray. Because of this relationship,

Defendant York fabricated evidence, including Mr. Sizemore’s false statement that

implicated Mr. Anderson and omitted information relating to Mr. Gray, to protect

his wife’s relative from being criminally charged.




                                          17
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 18 of 38 - Page ID#: 18



       112.   Defendant York, though, was not the only Defendant with a motivation

to fabricate evidence and protect Mr. Gray.

       113.   Defendant Pickard, too, had a personal motivation for framing Mr.

Anderson and protecting Mr. Gray. For approximately five years, Mr. Gray made

monthly payments to Defendant Pickard for the right to conduct criminal activity

without fear of prosecution.

       114.   In exchange for the payments, Defendant Pickard allowed Mr. Gray to

continue running his criminal enterprise.

       115.   Because of these payments, Defendant Pickard fabricated evidence

implicating Mr. Anderson and protected Mr. Gray from being criminally charged.

       116.   Defendant Pickard involved other deputies at the Knox County

Sheriff’s Department in this pay-to-play scheme.

       117.   Those deputies not only participated in collecting payments on

Defendant Pickard’s behalf, but they were also instructed to protect Mr. Gray from

the initiation of criminal charges.

       118.   Defendant Pickard knew at the time he committed this egregious

misconduct, which includes fabricating Mr. Sizemore’s statement, that implicating

Mr. Gray in the murder would result in his pay-to-play scheme being exposed.

          Defendants Engage in Coercive Interrogation of Dave Fox
                  in Their Quest to Frame Mr. Anderson

       119.   In spite of the evidence against the true perpetrators – Mr. Sizemore,

Mr. Gray, and Ms. York - the Defendant Officers conspired amongst themselves to

frame Mr. Anderson for Mr. Wiggins’ murder.


                                          18
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 19 of 38 - Page ID#: 19



       120.   By December 2, 2011, the Defendant Officers had already reached this

agreement to frame Mr. Anderson.

       121.   By that time, however, the Defendant Officers knew that Mr. Anderson

had an ironclad alibi that was supported by multiple witnesses, including Mr. Fox

and Mr. Ferrell.

       122.   Because of this, Defendants Joseph, York, and Eubanks conducted a

second interview of Mr. Fox on December 3, 2011 that lasted hours.

       123.   The purpose for that interview is transparent; the Defendant Officers

intended to coerce Mr. Fox into falsely claiming that Mr. Anderson left during the

daylight hours of November 23, 2011 with Mr. Sizemore and Mr. Wiggins and thus,

was a participated in the murder.

       124.   Because of their desire to frame Mr. Anderson, the Defendant Officers

made dozens of threats against Mr. Fox in their attempt to fabricate a false

statement.

       125.   But Mr. Fox continued telling the Defendant Officers that their

fabricated story was false. After two hours, the Defendant Officers plan to coerce

and fabricate a false statement against Mr. Anderson was failing miserably because

Mr. Fox continued telling the truth.

       126.   At that point, the Defendant Officers upped the ante and used a level

of coercion that has no legitimate place in law enforcement.

       127.   At that point, Defendant York got incredibly close to Mr. Fox and

stated, “I know you are very uncomfortable with me being this close to you. I know



                                         19
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 20 of 38 - Page ID#: 20



that…I do that for a reason. You know why I get this close? To make you

uncomfortable, it works…”

       128.   Shortly thereafter, Defendant York, in the presence of Defendant

Eubanks, again attempted to fabricate Mr. Fox’s statement by telling him, “You

know that that car and Bobby was at Bill-Bill’s house before he got killed. You know

that. And I know you know that.”

       129.   Mr. Fox replied by stating that he didn’t know what Defendant York

was talking about. Specifically, Mr. Fox retorted, “I never seen the car there during

the day. I seriously did not…”

       130.   At that point, Defendant York resorted to physical violence as part of

the Defendant Officers plan to coerce Mr. Fox into falsely implicating Mr. Anderson

in the murder.

       131.   A recording captures Defendant York resorting to physical violence

against Mr. Fox while yelling, “I’m going to put you in fucking prison because you

God damn lied to me. I’m so fucking sick of this God damn bullshit. You fucking

lied…Fuck you, fuck you, fuck you. Let’s put his ass in the fucking jail.”

       132.   Shortly thereafter, Defendant Eubanks threatened to charge Mr. Fox

with complicity to commit murder due to his refusal to lie against Mr. Anderson.

       133.   Having committed egregious misconduct, the Defendants Officers

moved forward with their plan to initiate false charges against Mr. Anderson.




                                          20
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 21 of 38 - Page ID#: 21



                      The Wrongful Prosecution of Mr. Anderson

       134.   On December 3, 2011, Defendant Mefford signed a criminal complaint

and initiated charges against Mr. Anderson for the murder of Mr. Wiggins.

       135.   Shortly thereafter, Defendants Mefford, York, and Joseph arrested Mr.

Anderson.

       136.   The Defendant Officers knew that the statements from Mr. Sizemore

that were used to initiate charges against Mr. Anderson were false, fabricated, and

the product of improper coercion. Even still, the Defendant Officers used these

statements to falsely initiate charges against Mr. Anderson.

       137.   At the time, the Defendant Officers knew that probable cause did not

exist to initiate charges against Mr. Anderson. Nonetheless, the Defendant Officers

continued to set Mr. Anderson’s prosecution in motion.

       138.   In their conspiracy to frame Mr. Anderson, sometimes acting alone and

sometimes acting in concert, the Defendant Officers manipulated and manufactured

a number of witnesses including Mr. Sizemore, Mr. Gray, Mr. Evans, and others.

The Defendant Officers threatened and coached Mr. Sizemore and others, and

otherwise induced individuals who otherwise had no knowledge to be false

witnesses, with the result that several witnesses made false statements about Mr.

Anderson and falsely implicated him in the murder of Mr. Wiggins.

       139.   Although no one—not the Bell County court, not the prosecutors, and

not Mr. Anderson or his attorneys—was aware of it at the time, the Defendant




                                         21
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 22 of 38 - Page ID#: 22



Officers fabricated or manipulated all of the evidence of guilt in this case, including

the false statements and false testimony of other witnesses.

       140.   Prior to Mr. Anderson’s acquittal, the Defendant Officers actively

concealed the falsity of the evidence they fabricated, the methods by which they

fabricated, and the scope of their fabrication.

       141.   As a result of the Defendant Officers continued fabrication of evidence,

continued withholding of material exculpatory evidence, and continued

manipulation of witnesses, Mr. Anderson was subject to continued prosecution on

capital murder charges.

       142.   Sometimes acting alone, and sometimes acting in concert, the

Defendant Officers, over the course of more than four years, also manipulated

physical evidence, manufactured false inculpatory evidence, and lost or destroyed

material exculpatory evidence.

       143.   The evidence that was fabricated, falsified, and manufactured by the

Defendant Officers was the only evidence linking Mr. Anderson to the murder that

he was charged with and was the only basis upon which prosecutors filed and

maintained charges against him.

       144.   Sometimes acting alone and sometimes acting in concert, the

Defendant Officers, for more than four years, concealed from prosecutors, Mr.

Anderson, and his defense counsel both the falsity of the witness statements and

the unlawful methods by which they procured and fabricated this evidence.




                                          22
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 23 of 38 - Page ID#: 23



       145.   Sometimes acting alone and sometimes acting in concert, the

Defendant Officers, for more than four years, withheld, concealed, or destroyed

material exculpatory evidence, keeping that evidence from prosecutors, the court,

Mr. Anderson, and his defense counsel.

       146.   The Defendant Officers actively misled prosecutors, who relied on the

false evidence fabricated by the Defendant Officers to continue to pursue the

prosecution of Mr. Anderson.

       147.   The Defendant Officers continued this misconduct even after the

initiation of charges against Ms. Anderson. They did so through coercion and

promises of consideration to a jailhouse snitch.

                  Defendants Fabricate Jeremiah Evans Statement

       148.   On the eve of trial, the Defendant Officers were fearful that that their

conspiracy would not result in Mr. Anderson’s conviction.

       149.   Thus, in April of 2016, the Defendant Officers solicited assistance from

Defendant Lawson, another officer at the Kentucky State Police.

       150.   At the time of the request, the Defendant Officers were aware that

Defendant Lawson previously arrested Jeremiah Evans and that Mr. Evans was

previously incarcerated with Mr. Anderson.

       151.   As part of the Defendant Officers’ plan, Defendant Lawson retrieved

Mr. Evans. According to Mr. Evans, he had no choice but to go with Defendant

Lawson and felt like a “marked man.”




                                          23
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 24 of 38 - Page ID#: 24



       152.   Shortly thereafter, Defendants Lawson and Johnson met with Mr.

Evans.

       153.   Defendant Johnson met with Mr. Evans on multiple occasions in his

quest to create a false and fabricated statement.

       154.   As a result of those meetings, the Defendant Officers obtained a false

and fabricated statement from Mr. Evans that implicated Mr. Anderson in Mr.

Wiggin’s murder. According to Mr. Evans’ false statement, Mr. Anderson confessed

to participating in the murder.

       155.   Mr. Evans statement was false and fabricated by the Defendant

Officers. Indeed, Mr. Anderson never confessed to the murder and had always

maintained his innocence.

                       Mr. Anderson is Exonerated at Trial

       156.   For more than four years, the Defendant Officers contrived to frame

Mr. Anderson for the murder of Mr. Wiggins and deprived him of his freedom

without due process of law.

       157.   On May 25, 2016, the jury hearing Mr. Anderson’s trial found him not

guilty of Mr. Wiggins’ murder.

       158.   The jury’s verdict and the evidence at trial was a decision on the

merits and indicative of his innocence.

                              Mr. Anderson’s Damages

       159.   Mr. Anderson spent more than four years incarcerated in the county

jail for a crime he did not commit. He must now attempt to make a life for himself



                                          24
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 25 of 38 - Page ID#: 25



without the benefit of nearly five years’ worth of experiences, which normally equip

adults for that task.

         160.   Additionally, the emotional pain and suffering caused by losing those

years has been substantial. During his incarceration, he was stripped of the

various pleasures of basic human experience, from the simplest to the most

important, which all free people enjoy as a matter of right. Mr. Anderson missed

out on the ability to share holidays, births, funerals, and other life events with loved

ones, including his wife and five children, and the fundamental freedom to live one’s

life as an autonomous human being.

         161.   As a result of the foregoing, Mr. Anderson has suffered tremendous

damage, including but not limited to physical harm, mental suffering, and loss of a

normal life, all proximately caused by Defendant Officers misconduct.

                              Count I – 42 U.S.C. § 1983
                               Malicious Prosecution

         162.   Each of the Paragraphs of this Complaint is incorporated as if

restated fully herein.

         163.   As described more fully above, all of the Defendant Officers, while

acting individually, jointly and in conspiracy, as well as under color of law and

within the scope of their employment, deprived Mr. Anderson of his constitutional

right to be free from unlawful prosecution and continued detention without probable

cause.

         164.   In the manner described more fully above, the Defendant Officers

made, influenced and/or participated in the decision to prosecute Mr. Anderson for


                                           25
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 26 of 38 - Page ID#: 26



murder, for which prosecution there was no probable cause and which caused Mr.

Anderson to suffer a deprivation of liberty. Their misconduct included falsifying

evidence and withholding exculpatory and impeachment evidence.

       165.   As described more fully above, the prosecution was resolved in Mr.

Anderson favor.

       166.   The Defendant Officers’ misconduct directly resulted in the unlawful

prosecution and continued deprivation of Mr. Anderson’s liberty in violation of his

constitutional rights.

       167.   As a result of this violation of his constitutional rights, Mr. Anderson

suffered injuries, including but not limited to bodily harm and emotional distress,

as is more fully alleged above.

       168.   The Defendant Officers’ misconduct, as described in this Count, was

objectively unreasonable and was undertaken intentionally with malice and willful

indifference to Mr. Anderson’s constitutional rights.

       169.   The misconduct described in this Count was undertaken pursuant to a

routine practice of the Knox County Sheriff’s Department to pursue wrongful

prosecutions and wrongful convictions through reckless and profoundly flawed

investigations and coerced evidence. In this way, Defendant Knox County violated

Mr. Anderson’s rights by maintaining policies and practices that were the moving

force driving the foregoing constitutional violations.

       170.   These widespread practices, so well-settled so as to constitute de facto

policy in the Knox County Sheriff’s Department, were able to exist and thrive



                                          26
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 27 of 38 - Page ID#: 27



because municipal policymakers with authority over these entities exhibited

deliberate indifference to the problem, thereby effectively ratifying it.

       171.   The widespread practices described in the preceding paragraphs were

allowed to flourish because the municipal defendants declined to implement

sufficient training and/or enforce legitimate oversight and punishment.

          Count II – 42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
                            Fabrication of False Evidence

       172.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

       173.   In the manner described more fully above, the Defendant Officers,

individually, jointly and in conspiracy with each other, fabricated evidence,

including without limitation, false police reports, fabricated statements attributed

to witnesses, and fabricated testimony offered at grand jury and other pretrial

proceedings. The Defendant Officers knowingly fabricated this evidence and a

reasonable likelihood exists that the false evidence affected the decision of the

grand jurors and courts that considered this false evidence when determining

whether probable cause existed.

       174.   The Defendant Officers were acting under color of law and within their

scope of employment when they took these actions.

       175.   The Defendant Officers’ misconduct directly resulted in the unjust

continued incarceration of Mr. Anderson, thereby denying him of his constitutional

right to due process as guaranteed by the U.S. Constitution. Absent this

misconduct, there would have been no probable cause for Plaintiff’s continued


                                           27
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 28 of 38 - Page ID#: 28



detention, and the prosecution of Plaintiff could not and would not have been

pursued.

       176.   As a direct and proximate result of the Defendant Officers’ actions, Mr.

Anderson’s constitutional rights were violated and he suffered from injuries and

damages, including but not limited to the loss of liberty, physical sickness and

injury, emotional pain and suffering, and other grievous and continuing injuries

and damages as set forth above.

              Count III: 42 U.S.C. § 1983 – Fourteenth Amendment
                                   Due Process

       177.   Each preceding paragraph of this Complaint is incorporated as if

restated fully herein.

       178.   In the manner described more fully above, the Defendant Officers,

acting individually, jointly, and in conspiracy with each other, destroyed, failed to

disclose, and otherwise withheld and/or suppressed exculpatory information and

material from the prosecution, Plaintiff, and Plaintiff’s defense counsel.

       179.   The Defendant Officers were acting under color of law and within the

scope of their employment when they took these actions.

       180.   The Defendant Officers’ misconduct directly resulted in the unjust

criminal conviction of Plaintiff, thereby denying him his constitutional right to a

fair trial guaranteed by the U.S. Constitution. By their actions, the Defendant

Officers thereby misled and misdirected the criminal prosecution of Plaintiff.

Absent this misconduct, the prosecution of Plaintiff could not and would not have




                                          28
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 29 of 38 - Page ID#: 29



been pursued, and there is a reasonable probability that he would not have been

convicted.

         181.   Furthermore, in the manner described more fully above, one or more of

the Defendant Officers, including Defendants Pickard and York, continued to

withhold and/or suppress exculpatory evidence from Plaintiff even after his criminal

trial.

         182.   The misconduct described in this Count was undertaken pursuant to

the policy and practice of the Defendant Knox County as police officers regularly

used unconstitutional measures to falsely implicate criminal suspects, including by

withholding and/or suppressing exculpatory evidence. For instance, it was a

widespread practice and custom of the officers in the Department not to turn over

investigative notes, including statements of witnesses, taken during the course of

an investigation. As a matter of practice, such memos and notes were destroyed

after the creation of typewritten official reports that were placed into an

investigation file.

         183.   This widespread practice was so well-settled as to constitute de facto

policy in the Knox County Sheriff’s Department, and it was allowed to exist because

municipal policymakers with authority over the same exhibited deliberate

indifference to the problem, thereby effectively ratifying it.

         184.   Furthermore, the widespread practices described in the preceding

paragraphs were allowed to flourish because the Defendant Knox County and the

Department declined to implement sufficient policies or training on officers’



                                            29
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 30 of 38 - Page ID#: 30



obligation to disclose exculpatory and impeachment evidence under Brady v.

Maryland, 373 U.S. 83 (1963), and related case law, even though the need for such

policies and training was obvious. The Defendant Knox County and department also

declined to implement any legitimate mechanism for oversight or punishment of

officers who violated their Brady obligations, thereby leading officers to believe that

they could violate citizens’ constitutional rights with impunity.

         185.   In addition, the misconduct described in this Count was undertaken

pursuant to the policy and practice of the Defendant Knox County and the

department in that the violation of Plaintiff’s rights described in this Count was

caused by the actions of policymakers for these Defendants.

         186.   Defendant Knox County is liable because the violation of Plaintiff’s

rights as described in this Count was caused by the policies, practices, customs,

and/or actions of policymakers for these Defendants.

         187.   As a direct and proximate result of the Defendants’ actions, Plaintiff’s

constitutional rights were violated and he suffered injuries and damages, including

but not limited to loss of liberty, physical sickness and injury, emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth

above.

                              Count IV – 42 U.S.C. § 1983
                                Supervisory Liability

         188.   Each paragraph of this Complaint is incorporated as if restated fully

herein.




                                            30
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 31 of 38 - Page ID#: 31



       189.   The continued wrongful detention of Plaintiff was caused by the

deliberate indifference and recklessness of supervisory defendants, including but

not limited to Defendant Pickard and Defendant Joseph, when they failed to

adequately train and supervise the individual Defendant Officers.

       190.   Specifically, these supervisory defendants were personally involved in

the case against Plaintiff and knew or, in the absence of their deliberate

indifference and recklessness, should have known of their subordinates’

unconstitutional actions and related misconduct in the case.

       191.   Furthermore, these supervisory defendants failed to supervise the

Defendant Officers in constitutionally adequate law enforcement practices,

particularly those which concerned interviews of suspects and the production of

exculpatory evidence, thereby encouraging and/or permitting these employees and

other defendants to engage in a reckless investigation, to coerce and fabricate false

inculpatory evidence and to withhold exculpatory and impeachment evidence, which

caused the constitutional deprivations suffered by Mr. Anderson.

       192.   These interview techniques, failures in producing exculpatory

evidence, fabrications and other investigative procedures were contrary to accepted

methods used by law enforcement agencies. The fact that the defendant supervisors

failed to train and supervise their subordinates to ensure that they employed proper

investigation procedures demonstrates deliberate indifference and reckless

disregard for Mr. Anderson’s constitutional rights.




                                          31
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 32 of 38 - Page ID#: 32



       193.     The personal involvement of the defendant supervisors, through their

actions and omissions, proximately and directly caused the constitutional

deprivations and grievous personal injuries suffered by Mr. Anderson, including the

above-mentioned injuries and damages.

       194.     The misconduct described in this Count was objectively unreasonable,

and was undertaken intentionally, with malice, willfulness, and deliberate

indifference to Mr. Anderson’s clearly established constitutional rights.

                               Count V - 42 U.S.C. § 1983
                                 Failure to Intervene

       195.     Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

       196.     In the manner described above, during the constitutional violations

described above, one or more of the Defendant Officers stood by without intervening

to prevent the misconduct, despite having a reasonable opportunity to do so.

       197.     As a result of the Defendant Officers failure to intervene to prevent the

violation of Mr. Anderson’s constitutional rights, he suffered pain and injuries, as

well as emotional distress.

       198.     The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally and with willful indifference to Mr. Anderson’s

rights.

       199.     The misconduct described in this Count was undertaken pursuant to

the policy and practice of the Knox County Sheriff’s Department in the manner




                                            32
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 33 of 38 - Page ID#: 33



described more fully in preceding paragraphs, and was tacitly ratified by

policymakers for the municipal defendants with final policymaking authority.

                            Count VI - 42 U.S.C. § 1983
                    Conspiracy to Deprive Constitutional Rights

         200.   Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

         201.   After Mr. Wiggins was murdered, the Defendant Officers reached an

agreement amongst themselves to frame Mr. Anderson for Mr. Wiggins’ murder,

and to thereby deprive him of his constitutional rights and his liberty to be

continuously taken away from them, all as described in the various Paragraphs of

this Complaint.

         202.   In this manner, the Defendant Officers, acting in concert with other

unknown co-conspirators, conspired by concerted action to accomplish an unlawful

purpose by unlawful means.

         203.   In furtherance of the conspiracy, each of the co-conspirators committed

overt acts and was an otherwise willful participant in joint activity.

         204.   As a direct and proximate result of the illicit prior agreement

referenced above, Mr. Anderson’s rights were violated, and he suffered financial

damages, as well as severe emotional distress and anguish, as is more fully alleged

above.

         205.   The misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to the rights of others.




                                            33
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 34 of 38 - Page ID#: 34



       206.     The misconduct described in this Count was undertaken pursuant to

the policies and practices of the Knox County Sheriff’s Department in the manner

described more fully in preceding paragraphs, and was tacitly ratified by

policymakers for the municipal defendants with final policymaking authority.

                            Count VII - 42 U.S.C. § 1983
                   Monell Claim Against Defendant Knox County

       207.     Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

       208.     The actions of Knox County officers in withholding material

exculpatory information from Mr. Anderson and his counsel were undertaken

pursuant to the policies and practices of the Knox County Sheriff’s Department,

described above, which were ratified by policymakers for the Knox County

Government with final policymaking authority. These policies and practices

included the failure to adequately train, supervise, and discipline officers on the

requirements concerning the prompt disclosure of newly discovered evidence that

exonerates a defendant following his arrest or conviction.

       209.     The policies and practices described in this Count were maintained

and implemented by the Knox County Government with deliberate indifference to

Plaintiffs’ constitutional rights.

       210.     As a direct and proximate result of the Knox County Government’s

actions, Plaintiffs’ constitutional rights were violated and they suffered injuries and

damages, as set forth in this Complaint.




                                            34
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 35 of 38 - Page ID#: 35



       211.     The Knox County Government is therefore liable for the misconduct

committed by its officers.

                             Count VIII – State Law Claim
                                Malicious Prosecution

       212.     Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

       213.     Through their actions as described above, the Defendant Officers

caused Mr. Anderson to be improperly subjected to a prosecution for which there

was no probable cause. These judicial proceedings were instituted and continued

maliciously, resulting in injury, and all such proceedings were ultimately

terminated in Mr. Anderson’s favor and in a manner indicative of his innocence.

       214.     The Defendant Officers accused Mr. Anderson of criminal activities

knowing those accusations to be without genuine probable cause; fabricated

evidence and withheld the manner in which that evidence was fabricated; and made

statements and reports to the police and/or prosecutors with the intent of exerting

influence to institute and continue the judicial proceedings.

       215.     The misconduct described in this Count was undertaken with malice,

bad faith, and in a wanton and reckless manner, and was undertaken by the

Defendant Officers within the scope of their employment and/or official

responsibilities.

       216.     As a result of this misconduct, Mr. Anderson suffered injuries,

including bodily harm and emotional pain and suffering as more fully alleged above.




                                            35
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 36 of 38 - Page ID#: 36



                             Count IX – State Law Claim
                               Negligent Supervision

       217.     Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

       218.     The municipal defendants, as well as the supervisory defendants,

including Defendant Pickard and Defendant Pickrell, had a duty to properly train

and supervise officers, detectives, and supervisor employees of the Knox County

Sheriff’s Department and the Kentucky State Police, and to provide adequate

policies to prevent the above conduct, including fabricating evidence, fabricating

witness statements, and concealing material impeachment evidence.

       219.     The municipal defendants and the supervisory defendants were

grossly negligent and negligent in the training, supervision and discipline of the

Defendant Officers, resulting in Mr. Anderson being deprived of his right to due

process, and his right to be free from false arrest, false imprisonment, and wrongful

conviction.

       220.     As a result of this misconduct, Mr. Anderson suffered injuries,

including bodily harm and emotional pain and suffering as more fully alleged above.

                            Count X – State Law Claim
                    Intentional Infliction of Emotional Distress

       221.     Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

       222.     As described more fully in the preceding paragraphs, by framing Mr.

Anderson for a murder he did not commit, the Defendant Officers intended to cause



                                            36
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 37 of 38 - Page ID#: 37



emotional distress, or knew or should have known that their actions would result in

serious emotional distress.

       223.     In doing so, the Defendant Officers’ conduct was extreme and

outrageous, going beyond all possible bounds of decency such that it can be

considered completely intolerable in a civilized society, and this conduct caused Mr.

Anderson to suffer serious emotional distress of the nature no reasonable man or

woman could be expected to endure.

       224.     The misconduct described in this Count was undertaken with malice,

bad faith, and in a wanton and reckless manner, and was undertaken by the

Defendant Officers within the scope of their employment.

       225.     As a result of this misconduct, Mr. Anderson sustained injuries,

including emotional pain and suffering, as is more fully alleged above.

                                      Count XI
                                 Respondeat Superior

       226.     Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

       227.     In committing the acts alleged in the preceding paragraphs, some of

the Defendant Officers were members and agents of the Knox County Sheriff’s

Department, acting at all relevant times within the scope of their employment.

       228.     Defendant Knox County is liable as principals for all state law torts

committed by their agents.




                                            37
	  
Case: 6:17-cv-00133-KKC-HAI Doc #: 1 Filed: 05/22/17 Page: 38 of 38 - Page ID#: 38



       WHEREFORE, Plaintiff, WILLIAM ANDERSON, respectfully requests that

this Court enter judgment in their favor and against Defendants KNOX COUNTY,

Knox County Sheriff JOHN PICKARD and Knox County Sheriff’s Department

Officer DEREK EUBANKS, Kentucky State Police Officers JASON YORK, BRIAN

JOHNSON, MARK MEFFORD, JACKIE JOSEPH, TYSON LAWSON, and other

unknown officers from the Knox County Sheriff’s Department, and Kentucky State

Police, awarding compensatory damages, attorneys’ fees, and costs against each

Defendant, and punitive damages against each of the individual Defendants, as well

as any other relief this Court deems appropriate.


                                  JURY DEMAND

       Plaintiff, WILLIAM ANDERSON, hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.




                                                      Respectfully submitted,

                                                      /s/ Elliot Slosar
                                                      One of Plaintiff’s Attorneys



Arthur Loevy
Jon Loevy
Michael Kanovitz
Elliot Slosar
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, IL 60607
(312) 243-5900
Fax: (312) 243-5902

                                          38
	  
